     Case 19-02300-5-SWH                   Doc 7 Filed 05/20/19 Entered 05/20/19 13:31:38      Page 1 of 1
VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/02/2018

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                            Raleigh Division

IN RE:
Antoine George Elghossain                                           CASE NO.: 19−02300−5−SWH
( known aliases: Antoine Elghossain )
2203 Henniker Street                                                DATE FILED: May 20, 2019
Apex, NC 27523
                                                                    CHAPTER: 7




                                                        DEFICIENCY NOTICE

To: Antoine George Elghossain
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by June 3, 2019 .

Schedule C, Schedule D, Schedule G, Schedule H, Schedule I, Schedule J, Statement of Affairs,

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Statement of Intent must be filed by June 19, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by June 3,
2019 .

The Certificate of Completion of pre−petition Credit Counseling Course must be filed by June 3, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: May 20, 2019


                                                                   Deputy Clerk
